USCA4 Appeal: 20-1094    Doc: 75-2    Filed: 06/15/2021  Pg: 2 of 2        Total Pages:(5 of 5)
               Case 1:19-cv-01559-RDB Document 37 Filed 06/15/21 Page 1 of 20



                     Amici Supporting Appellants

                                      ___________________

                                        JUDGMENT
                                      ___________________

              In accordance with the decision of this court, the judgment on the district

        court’s dismissal of the plaintiffs’ First Amendment Claim is vacated. This case is

        remanded to the district court for further proceedings consistent with the court's

        decision.

              This judgment shall take effect upon issuance of this court's mandate in

        accordance with Fed. R. App. P. 41.

                                               /s/ PATRICIA S. CONNOR, CLERK
USCA4 Appeal: 20-1094    Doc: 74     Filed: 06/15/2021 Pg: 1 of 15
               Case 1:19-cv-01559-RDB Document 37 Filed 06/15/21 Page 2 of 20



                                                 PUBLISHED

                                   UNITED STATES COURT OF APPEALS
                                       FOR THE FOURTH CIRCUIT


                                                  No. 20-1094


        BRANDON SODERBERG; BAYNARD WOODS; OPEN JUSTICE
        BALTIMORE; BALTIMORE ACTION LEGAL TEAM; QIANA JOHNSON;
        LIFE AFTER RELEASE,

                                Plaintiffs - Appellants,

                        v.

        HON. AUDREY J. S. CARRION, Administrative Judge for Maryland’s Eighth
        Judicial Circuit; HON. SHEILA R. TILLERSON ADAMS, as Administrative Judge
        for Maryland’s Seventh Judicial Circuit,

                                Defendants - Appellees,

                and

        PATRICIA TRIKERIOTIS, as Court Reporter for Baltimore City; ROBIN
        WATSON, as Court Reporter for Prince George’s County,

                                Defendants.

        ------------------------------

        CATO INSTITUTE; FLOYD ABRAMS INSTITUTE FOR FREEDOM OF
        EXPRESSION; THE REPORTERS COMMITTEE FOR FREEDOM OF THE
        PRESS AND 23 MEDIA ORGANIZATIONS,

                                Amici Supporting Appellants.


        Appeal from the United States District Court for the District of Maryland, at Baltimore.
        Richard D. Bennett, District Judge. (1:19-cv-01559-RDB)
USCA4 Appeal: 20-1094    Doc: 74     Filed: 06/15/2021 Pg: 2 of 15
               Case 1:19-cv-01559-RDB Document 37 Filed 06/15/21 Page 3 of 20



        Argued: January 28, 2021                                      Decided: June 15, 2021


        Before KING, HARRIS, and RUSHING, Circuit Judges.


        Vacated and remanded by published opinion. Judge King wrote the opinion, in which
        Judge Harris and Judge Rushing joined.


        ARGUED: Nicolas Y. Riley, GEORGETOWN UNIVERSITY LAW CENTER,
        Washington, D.C., for Appellants. Steven Marshall Sullivan, OFFICE OF THE
        ATTORNEY GENERAL OF MARYLAND, Baltimore, Maryland, for Appellees. Eugene
        Volokh, UCLA SCHOOL OF LAW, Los Angeles, California, for Amicus Cato Institute.
        ON BRIEF: Adam Holofcener, MARYLAND VOLUNTEER LAWYERS FOR THE
        ARTS, Baltimore, Maryland; Daniel B. Rice, Institute for Constitutional Advocacy &
        Protection, GEORGETOWN UNIVERSITY LAW CENTER, Washington, D.C., for
        Appellants. Brian E. Frosh, Attorney General, Michele J. McDonald, Assistant Attorney
        General, Joseph Dudek, Assistant Attorney General, OFFICE OF THE ATTORNEY
        GENERAL OF MARYLAND, Baltimore, Maryland, for Appellees. Clark Neily, CATO
        INSTITUTE, Washington, D.C.; Robert Bowen, Megan McDowell, Emily Rehm, UCLA
        SCHOOL OF LAW, Los Angeles, California, for Amicus Cato Institute. David A. Schulz,
        Alexandra Dudding, Julu Katticaran, Zoe Rubin, Media Freedom and Information Access
        Clinic, YALE LAW SCHOOL, New Haven, Connecticut, for Amicus Floyd Abrams
        Institute for Freedom of Expression. Jennifer A. Nelson, Gabriel Rottman, First
        Amendment Clinic, UNIVERSITY OF VIRGINIA SCHOOL OF LAW, Charlottesville,
        Virginia, for Amici The Reporters Committee for Freedom of the Press and 23 Media
        Organizations.




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USCA4 Appeal: 20-1094    Doc: 74     Filed: 06/15/2021 Pg: 3 of 15
               Case 1:19-cv-01559-RDB Document 37 Filed 06/15/21 Page 4 of 20



        KING, Circuit Judge:

               Relevant to their appeal, the plaintiffs in this District of Maryland civil action have

        lodged a First Amendment challenge to section 1-201 of the Criminal Procedure Article of

        the Maryland Code, insofar as that statute prohibits and punishes the broadcasting of the

        official court recordings of state criminal proceedings (the “Broadcast Ban,” or simply the

        “Ban”). In January 2020, the district court dismissed the entire action pursuant to Federal

        Rule of Civil Procedure 12(b)(6) for failure to state a claim upon which relief can be

        granted. See Soderberg v. Pierson, No. 1:19-cv-01559 (D. Md. Jan. 14, 2020), ECF No.

        30 (the “Opinion”). The court deemed the plaintiffs’ First Amendment claim to be

        deficient on the premise that the Broadcast Ban constitutes a content-neutral regulation of

        the time, place, and manner of speech that survives intermediate scrutiny. As explained

        herein, we conclude that — because the Ban is properly assessed as a penal sanction for

        publishing information released to the public in official court records — it is subject to

        strict scrutiny under the Supreme Court’s decisions in Cox Broadcasting Corp. v. Cohn,

        420 U.S. 469 (1975), and Smith v. Daily Mail Publishing Co., 443 U.S. 97 (1979).

        Accordingly, we vacate the dismissal of the First Amendment claim and remand.



                                                      I.

                                                     A.

               In 1981, the Maryland General Assembly enacted the Broadcast Ban, which was

        originally codified in article 27, section 467B of the Maryland Code. The Ban was

        recodified in 2001, without substantive change, in section 1-201 of the Criminal Procedure

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USCA4 Appeal: 20-1094    Doc: 74     Filed: 06/15/2021 Pg: 4 of 15
               Case 1:19-cv-01559-RDB Document 37 Filed 06/15/21 Page 5 of 20



        Article. In delineating the Ban, section 1-201 provides that “a person may not . . . broadcast

        any criminal matter, including a trial, hearing, motion, or argument, that is held in trial

        court or before a grand jury.” See Md. Code Ann., Crim. Proc. § 1-201(a)(1). The statute

        further provides that a person who violates the Ban — one who broadcasts the official court

        recordings of state criminal proceedings — “may be held in contempt of court.” Id.

        § 1-201(c). The same language of section 1-201(a)(1) and (c) prohibits and punishes live

        broadcasts of criminal proceedings. Section 1-201 also bars and penalizes the recording of

        such proceedings, though the statute includes an exception for court-approved recordings

        made “to perpetuate a court record.” Id. § 1-201(a)(1), (b)(2), (c).

               Meanwhile, the Maryland Rules broadly require the electronic recording of

        proceedings, including criminal proceedings, in the state trial courts. See Md. R. 16-503

        (rule for circuit courts); id. 16-502 (rule for district courts). The recording requirement

        applies to trials, hearings, the taking of testimony, and other proceedings conducted before

        a judge in a courtroom or by remote electronic means. According to the Complaint in this

        civil action, see Soderberg v. Pierson, No. 1:19-cv-01559 (D. Md. May 28, 2019), ECF

        No. 1, most state trial courts create audio recordings and some create video recordings of

        their proceedings.

               The public generally has a right to obtain copies of official court recordings under

        the Maryland Rules, which provide that the circuit courts “shall make a copy of the audio

        recording or, if practicable, the audio portion of an audio-video recording, available to any

        person upon written request and, unless waived by the court, upon payment of the

        reasonable costs of making the copy.” See Md. R. 16-504(h)(1); see also id. 16-502(g)(1)

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USCA4 Appeal: 20-1094    Doc: 74     Filed: 06/15/2021 Pg: 5 of 15
               Case 1:19-cv-01559-RDB Document 37 Filed 06/15/21 Page 6 of 20



        (similar rule for district courts). The Complaint reflects that courts also have “occasionally

        provided copies of video recordings to members of the public upon written request.” See

        Complaint ¶ 11 (explaining that the Maryland Rules neither require nor preclude courts

        from providing copies of video recordings). The Maryland Rules exclude from public

        disclosure the recordings of just a few types of proceedings, such as “proceedings closed

        pursuant to law” and those involving matters that “the court finds should and lawfully may

        be shielded from public access and inspection.” See Md. R. 16-504(g), (h)(1) (exclusions

        for circuit court proceedings); see also id. 16-502(f), (g)(1) (same exclusions for district

        court proceedings).

               The Complaint alleges that, although members of the public may legally obtain

        copies of the official court recordings of criminal proceedings, they are barred by the

        Broadcast Ban from then broadcasting those recordings. As the Complaint explains, the

        Ban “prohibits people from disseminating digital recordings of criminal court proceedings

        — even though the State itself makes copies of those recordings publicly available.” See

        Complaint ¶ 4. That is because section 1-201 “prohibits the broadcast not only of live court

        proceedings but also of previously recorded proceedings, including recordings from cases

        that have long since ended.” Id. ¶ 15. People are free, however, to broadcast official court

        recordings of state civil proceedings, as well as recordings of state appellate proceedings

        in both civil and criminal cases.

                                                     B.

               The six plaintiffs in this federal civil action assert that the Broadcast Ban

        unconstitutionally stands in their way of disseminating lawfully obtained copies of the

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USCA4 Appeal: 20-1094    Doc: 74     Filed: 06/15/2021 Pg: 6 of 15
               Case 1:19-cv-01559-RDB Document 37 Filed 06/15/21 Page 7 of 20



        official court recordings of state criminal proceedings. Plaintiffs Brandon Soderberg and

        Baynard Woods are Baltimore-based journalists who are writing a book and working on a

        documentary film about the Baltimore Police Department’s Gun Trace Task Force. In their

        film and other reporting projects, Soderberg and Woods intend to use audio recordings and

        a video recording of criminal proceedings conducted in the Circuit Court of Baltimore City.

        Plaintiffs Open Justice Baltimore and Baltimore Action Legal Team are organizations that

        provide support for community-centered efforts to improve the criminal justice system.

        They intend to play audio recordings of Baltimore City criminal proceedings at community

        events, post the recordings online, share them on social media, and potentially include them

        on podcasts. Plaintiff Qiana Johnson is a community organizer in Prince George’s County

        and the founder of plaintiff Life After Release, a community-based organization that seeks

        to empower individuals, families, and communities that are impacted by the criminal

        justice system. Johnson and Life After Release intend to use audio recordings of criminal

        proceedings in the Circuit Court of Prince George’s County by posting them on websites

        and playing them at meetings.

               The plaintiffs filed their Complaint on May 28, 2019, against four defendants,

        including Judge W. Michael Pierson and Judge Sheila R. Tillerson Adams, state court

        judges in Baltimore City and Prince George’s County sued in their official capacities.

        Judge Pierson has since been replaced as a defendant by his successor on the state court




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USCA4 Appeal: 20-1094    Doc: 74     Filed: 06/15/2021 Pg: 7 of 15
               Case 1:19-cv-01559-RDB Document 37 Filed 06/15/21 Page 8 of 20



        bench, Judge Audrey J. S. Carrion. We refer herein to the defendant judges, who are

        represented by the Attorney General of Maryland, as the “State.” 1

               The Complaint alleges the plaintiffs’ First Amendment claim pursuant to 28 U.S.C.

        § 1983 as a facial, pre-enforcement challenge to the Broadcast Ban. In support thereof, the

        Complaint asserts that the Ban is subject to — and cannot withstand — the strict scrutiny

        review required by the Supreme Court’s Cox Broadcasting and Daily Mail decisions. See,

        e.g., Complaint ¶ 5 (alleging that the Ban contravenes the First Amendment principle that

        “when the press or the public ‘lawfully obtains truthful information about a matter of public

        significance then state officials may not constitutionally punish publication of the

        information, absent a need to further a state interest of the highest order’” (quoting Daily

        Mail, 443 U.S. at 103)); id. ¶ 39 (emphasizing that the “principle applies with special force

        to information about public court proceedings” (citing Cox Broad., 420 U.S. at 492)). The

        Complaint seeks declarations that the Ban is unconstitutional and that the plaintiffs may

        not be held in contempt for disseminating lawfully obtained copies of the official court

        recordings of state criminal proceedings.

                                                      C.

               On July 18, 2019, the State filed a motion to dismiss the Complaint and argued, in

        pertinent part, that the plaintiffs’ First Amendment claim should be dismissed under



               1
                  The district court dismissed the other two defendants, Patricia Trikeriotis and
        Robin Watson, court reporters in Baltimore City and Prince George’s County also sued in
        their official capacities. Because the plaintiffs do not contest the dismissal of the defendant
        court reporters, they are not parties to this appeal.

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USCA4 Appeal: 20-1094    Doc: 74     Filed: 06/15/2021 Pg: 8 of 15
               Case 1:19-cv-01559-RDB Document 37 Filed 06/15/21 Page 9 of 20



        Federal Rule of Civil Procedure 12(b)(6) on the theory that the Broadcast Ban need only

        satisfy intermediate scrutiny because it is a content-neutral regulation of the time, place,

        and manner of speech. As part of its theory, the State likens the Ban to Federal Rule of

        Criminal Procedure 53, a prohibition on live broadcasts of criminal proceedings that has

        been subjected to intermediate scrutiny by several of our sister courts of appeals and

        determined to be constitutional. See Fed. R. Crim. P. 53 (“Except as otherwise provided

        by statute or these rules, the court must not permit . . . the broadcasting of judicial

        proceedings from the courtroom.”); see also, e.g., United States v. Kerley, 753 F.2d 617,

        620-22 (7th Cir. 1985) (recognizing consensus that Rule 53 is constitutional and upholding

        it as “reasonable and neutral” time, place, and manner restriction).

               Under the State’s theory, the Broadcast Ban is not subject to the strict scrutiny

        standard developed by the Supreme Court in Cox Broadcasting and Daily Mail because

        that standard applies only to absolute prohibitions on the publication of information in any

        form. The State underscores that, although the Ban proscribes the broadcasting of the

        official court recordings of criminal proceedings, it does not limit other means of

        disseminating the same information, such as publishing transcripts, reporting on what

        occurred during the proceedings, and airing reenactments.

               For reasons explained in its Opinion of January 14, 2020, the district court adopted

        the State’s theory and dismissed the First Amendment claim on the premise that the

        Broadcast Ban is akin to Federal Rule of Criminal Procedure 53. The Opinion faulted the

        plaintiffs for “offer[ing] no basis for this Court to deviate from the well-established

        precedent in its sister circuits that a prohibition on broadcasting criminal proceedings is a

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USCA4 Appeal: 20-1094    Doc: 74     Filed: 06/15/2021 Pg: 9 of 15
               Case 1:19-cv-01559-RDB Document 37 Filed 06/15/21 Page 10 of 20



        valid time, place, and manner regulation.” See Opinion 29. Moreover, the Opinion

        declared Cox Broadcasting and Daily Mail to be inapposite because “Maryland’s

        Broadcast Ban is not a total prohibition on the publication of information that is conveyed

        in criminal proceedings.” Id. at 24.

               The plaintiffs have appealed from the district court’s judgment, specifically

        contesting the dismissal of their First Amendment claim. 2 We possess jurisdiction pursuant

        to 28 U.S.C. § 1291.



                                                      II.

               Upon our de novo review, we conclude that the district court erred in dismissing the

        plaintiffs’ First Amendment claim under Federal Rule of Civil Procedure 12(b)(6). See

        Akers v. Md. State Educ. Ass’n, 990 F.3d 375, 378-79 (4th Cir. 2021) (“We review a Rule

        12(b)(6) dismissal de novo.”). As we first explain, the Broadcast Ban is subject to strict

        scrutiny under the Supreme Court’s decisions in Cox Broadcasting Corp. v. Cohn, 420

        U.S. 469 (1975), and Smith v. Daily Mail Publishing Co., 443 U.S. 97 (1979). Accordingly,

        as we next explain, it was error for the district court to instead apply intermediate scrutiny



               2
                  At the same time that it dismissed the plaintiffs’ First Amendment claim, the
        district court made several rulings that are not at issue in this appeal. Those include rulings:
        dismissing the defendant court reporters, see supra note 1; declining to dismiss the
        Complaint under Federal Rule of Civil Procedure 12(b)(1) for lack of standing; declining
        to dismiss the Complaint under Rule 12(b)(7) for failure to join indispensable parties; and
        dismissing the only other claim brought by the plaintiffs, a Fourteenth Amendment void-
        for-vagueness claim, under Rule 12(b)(6) for failure to state a claim on which relief can be
        granted.

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USCA4 Appeal: 20-1094    Doc: 74     Filed: 06/15/2021 Pg: 10 of 15
               Case 1:19-cv-01559-RDB Document 37 Filed 06/15/21 Page 11 of 20



        in upholding the Ban. In these circumstances, we must reinstate the First Amendment

        claim for the district court’s further consideration.

                                                      A.

               The First Amendment provides, in pertinent part, that “Congress shall make no

        law . . . abridging the freedom of speech, or of the press.” See U.S. Const. amend. I. In its

        Cox Broadcasting decision in 1975, the Supreme Court ruled that the First Amendment

        barred an invasion-of-privacy action against a television station for broadcasting a rape

        victim’s name learned from publicly available court records. See 420 U.S. at 471-74

        (explaining that lawsuit relied on Georgia law making it misdemeanor to publish or

        broadcast name of rape victim). In so doing, the Court highlighted “[t]he special protected

        nature of accurate reports of judicial proceedings.” Id. at 492. The Court also emphasized

        the public interest in such reports and their “critical importance to our type of government

        in which the citizenry is the final judge of the proper conduct of public business.” Id. at

        495. As the Court saw it, by placing “information in the public domain on official court

        records, the State must be presumed to have concluded that the public interest was thereby

        being served.” Id.

               From there, the Cox Broadcasting Court reasoned that the First Amendment,

        together with the Fourteenth, “command[s] nothing less than that the States may not

        impose sanctions on the publication of truthful information contained in official court

        records open to public inspection.” See 420 U.S. at 495. The Court reiterated:

               At the very least, the First and Fourteenth Amendments will not allow
               exposing the press to liability for truthfully publishing information released
               to the public in official court records. . . . Once true information is disclosed

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USCA4 Appeal: 20-1094    Doc: 74     Filed: 06/15/2021 Pg: 11 of 15
               Case 1:19-cv-01559-RDB Document 37 Filed 06/15/21 Page 12 of 20



               in public court documents open to public inspection, the press cannot be
               sanctioned for publishing it.

        Id. at 496. The Court also cautioned that to the extent “there are privacy interests to be

        protected in judicial proceedings, the States must respond by means which avoid public

        documentation or other exposure of private information.” Id. Nevertheless, the Court did

        not go so far as to hold that the publication of truthful information contained in official

        court records may never be punished.

               In the wake of Cox Broadcasting, in its Daily Mail decision in 1979, the Supreme

        Court ruled that a West Virginia statute contravened the First and Fourteenth Amendments

        by making it a crime for a newspaper to publish, without the written approval of the

        juvenile court, the name of any youth charged as a juvenile offender.           There, two

        newspapers had been indicted for printing the name of a minor accused of shooting and

        killing a classmate at a local junior high school. The newspapers learned the alleged

        assailant’s name by interviewing witnesses, police officers, and a prosecutor at the school,

        and the name was also broadcast over several radio stations. See Daily Mail, 443 U.S. at

        98-100 (describing events leading to indictment of newspapers and issuance of writ of

        prohibition by Supreme Court of Appeals of West Virginia).

               Viewing the West Virginia statute “as a penal sanction for publishing lawfully

        obtained, truthful information,” the Daily Mail Court easily concluded that the statute was

        unconstitutional. See 443 U.S. at 101-02.        Indeed, the Court observed that the Cox

        Broadcasting decision and other recent precedent “demonstrate that state action to punish




                                                    11
USCA4 Appeal: 20-1094    Doc: 74     Filed: 06/15/2021 Pg: 12 of 15
               Case 1:19-cv-01559-RDB Document 37 Filed 06/15/21 Page 13 of 20



        the publication of truthful information seldom can satisfy constitutional standards.” Id. at

        102. 3

                 From Cox Broadcasting and the other precedent, the Daily Mail Court drew and

        applied the following standard: “[I]f a newspaper lawfully obtains truthful information

        about a matter of public significance then state officials may not constitutionally punish

        publication of the information, absent a need to further a state interest of the highest order.”

        See 443 U.S. at 103. The Court instructed that it “is not controlling” whether “the

        government itself provided or made possible press access to the information” (as in Cox

        Broadcasting), or whether the information was lawfully obtained in some other manner,

        such as by way of “routine newspaper reporting techniques” (as in Daily Mail). Id. So

        long as the information was lawfully obtained, “the state may not punish its publication

        except when necessary to further [a sufficiently substantial] interest.” Id. at 104.

                 Notably, although the Daily Mail Court did not refer to its standard as “strict

        scrutiny,” that term has since been used to describe the standard. See, e.g., Bartnicki v.



                 The cited precedent included cases involving both penal sanctions, see, e.g.,
                 3

        Landmark Communications, Inc. v. Virginia, 435 U.S. 829 (1978), and prior restraints, see,
        e.g., Oklahoma Publishing Co. v. District Court, 430 U.S. 308 (1977). The Daily Mail
        Court explained that — although prior restraints had “been accorded the most exacting
        scrutiny in previous cases” — it was “not dispositive” whether the challenged West
        Virginia statute was “view[ed] as a prior restraint or as a penal sanction” because “even [a
        penal sanction] requires the highest form of state interest to sustain its validity.” See 443
        U.S. at 101-02. The Court invoked Landmark Communications for the principle that
        “when a state attempts to punish publication after the event it must . . . demonstrate that its
        punitive action was necessary to further the state interests asserted,” and Oklahoma
        Publishing for its holding that once “truthful information was ‘publicly revealed’ or ‘in the
        public domain’ the court could not constitutionally restrain its dissemination.” Id. at
        102-03 (citing Landmark Commc’ns, 435 U.S. at 843; Okla. Publ’g, 430 U.S. at 311-12).

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USCA4 Appeal: 20-1094    Doc: 74     Filed: 06/15/2021 Pg: 13 of 15
               Case 1:19-cv-01559-RDB Document 37 Filed 06/15/21 Page 14 of 20



        Vopper, 532 U.S. 514, 545 (2001) (Rehnquist, C.J., dissenting); Peavy v. WFAA-TV, Inc.,

        221 F.3d 158, 189 (5th Cir. 2000). And of course, we employ the term “strict scrutiny”

        herein. The Daily Mail standard has been explained and applied by both the Supreme Court

        and our Court, in decisions including Florida Star v. B.J.F., 491 U.S. 524, 541 (1989)

        (concluding in an as-applied First Amendment challenge that the state statute at issue was

        not “narrowly tailored to a state interest of the highest order”), and Ostergren v. Cuccinelli,

        615 F.3d 263, 276, 286-87 (4th Cir. 2010) (same).

               Such strict scrutiny review of the Broadcast Ban is clearly required here. Simply

        put, the plaintiffs’ copies of the official court recordings of state criminal proceedings

        constitute “truthful information” that was “released to the public in official court records.”

        See Cox Broad., 420 U.S. at 495-96. As such, the broadcasting of those lawfully obtained

        recordings cannot constitutionally be punished “absent a need to further a state interest of

        the highest order.” See Daily Mail, 443 U.S. at 103.

                                                      B.

               Instead of engaging in the strict scrutiny assessment required by Cox Broadcasting

        and Daily Mail, the district court erroneously treated the Broadcast Ban as a content-neutral

        time, place, and manner regulation and thus subjected it to intermediate scrutiny. The

        court’s first mistake was analogizing the Ban, at the State’s urging, to Federal Rule of

        Criminal Procedure 53. As heretofore explained, Rule 53 prohibits live broadcasts of

        federal criminal proceedings. To be sure, section 1-201 of the Criminal Procedure Article

        of the Maryland Code — which contains the Broadcast Ban — similarly bars live

        broadcasts of state criminal proceedings.          But section 1-201’s prohibition on live

                                                      13
USCA4 Appeal: 20-1094    Doc: 74     Filed: 06/15/2021 Pg: 14 of 15
               Case 1:19-cv-01559-RDB Document 37 Filed 06/15/21 Page 15 of 20



        broadcasts is not the subject of this civil action. Rather, the plaintiffs are challenging the

        Broadcast Ban, i.e., section 1-201’s distinct prohibition on the broadcasting of the official

        court recordings of state criminal proceedings.         Consequently, the district court’s

        comparison of the Ban to Rule 53 was inapt and the court erred in relying on persuasive

        authority upholding Rule 53 as a valid time, place, and manner regulation.

               The district court further erred in refusing to apply strict scrutiny on the premise,

        advanced by the State, that Cox Broadcasting and Daily Mail demand such scrutiny only

        where there is an absolute prohibition on the publication of information in any form. That

        proposition is belied by Daily Mail itself, which involved a partial ban on the publication

        of information. As the Daily Mail Court explained, the challenged West Virginia statute

        did “not restrict the electronic media or any form of publication, except ‘newspapers,’ from

        printing the names of youths charged in a juvenile proceeding.” See 443 U.S. at 104-05.

        Rather than treating the limited nature of the ban as a reason to subject it to intermediate

        scrutiny as a time, place and manner regulation, the Court considered it to be significant to

        the applicable strict scrutiny analysis and fatal to the constitutionality of the statute.

        Specifically, in light of the statute’s narrowness, the Court concluded that “even assuming

        the statute served a state interest of the highest order, it does not accomplish its stated

        purpose.” Id. at 105.




                                                     14
USCA4 Appeal: 20-1094    Doc: 74     Filed: 06/15/2021 Pg: 15 of 15
               Case 1:19-cv-01559-RDB Document 37 Filed 06/15/21 Page 16 of 20



               At bottom, the district court was wrong to apply intermediate scrutiny, rather than

        strict scrutiny, to the Broadcast Ban. The court therefore must reevaluate the Ban, in

        accordance with the principles of Cox Broadcasting, Daily Mail, and their progeny. 4



                                                     III.

               Pursuant to the foregoing, we vacate the district court’s dismissal of the plaintiffs’

        First Amendment claim. We remand for such other and further proceedings as may be

        appropriate.

                                                                      VACATED AND REMANDED




               4
                  Because the district court incorrectly characterized the Broadcast Ban as a content-
        neutral time, place, and manner regulation, it never addressed whether the State can show
        that the Ban is “narrowly tailored to a state interest of the highest order,” as required under
        the proper strict scrutiny standard. See Fla. Star, 491 U.S. at 541. Consistent with “the
        principle that the district court should have the first opportunity to perform the applicable
        analysis,” see Fusaro v. Cogan, 930 F.3d 241, 263 (4th Cir. 2019), we remand so that the
        district court may decide in the first instance whether the Broadcast Ban can survive that
        rigorous review. We also do not unnecessarily reach and resolve other arguments raised
        by the plaintiffs, including that the Ban cannot withstand even intermediate scrutiny.

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USCA4 Appeal: 20-1094    Doc: 75-1     Filed: 06/15/2021 Pg: 1 of 3         Total Pages:(1 of 5)
               Case 1:19-cv-01559-RDB Document 37 Filed 06/15/21 Page 17 of 20

                                                                               FILED: June 15, 2021


                               UNITED STATES COURT OF APPEALS
                                   FOR THE FOURTH CIRCUIT

                        No. 20-1094,        Brandon Soderberg v. Audrey Carrion
                                            1:19-cv-01559-RDB

                                         ________________________

                                        NOTICE OF JUDGMENT
                                         ________________________

        Judgment was entered on this date in accordance with Fed. R. App. P. 36. Please be
        advised of the following time periods:

        PETITION FOR WRIT OF CERTIORARI: The time to file a petition for writ of
        certiorari runs from the date of entry of the judgment sought to be reviewed, and not
        from the date of issuance of the mandate. If a petition for rehearing is timely filed in
        the court of appeals, the time to file the petition for writ of certiorari for all parties runs
        from the date of the denial of the petition for rehearing or, if the petition for rehearing
        is granted, the subsequent entry of judgment. See Rule 13 of the Rules of the Supreme
        Court of the United States; www.supremecourt.gov.

        VOUCHERS FOR PAYMENT OF APPOINTED OR ASSIGNED COUNSEL:
        Vouchers must be submitted within 60 days of entry of judgment or denial of
        rehearing, whichever is later. If counsel files a petition for certiorari, the 60-day period
        runs from filing the certiorari petition. (Loc. R. 46(d)). If payment is being made from
        CJA funds, counsel should submit the CJA 20 or CJA 30 Voucher through the CJA
        eVoucher system. In cases not covered by the Criminal Justice Act, counsel should
        submit the Assigned Counsel Voucher to the clerk's office for payment from the
        Attorney Admission Fund. An Assigned Counsel Voucher will be sent to counsel
        shortly after entry of judgment. Forms and instructions are also available on the court's
        web site, www.ca4.uscourts.gov, or from the clerk's office.

        BILL OF COSTS: A party to whom costs are allowable, who desires taxation of
        costs, shall file a Bill of Costs within 14 calendar days of entry of judgment. (FRAP
        39, Loc. R. 39(b)).
USCA4 Appeal: 20-1094    Doc: 75-1     Filed: 06/15/2021 Pg: 2 of 3         Total Pages:(2 of 5)
               Case 1:19-cv-01559-RDB Document 37 Filed 06/15/21 Page 18 of 20

        PETITION FOR REHEARING AND PETITION FOR REHEARING EN
        BANC: A petition for rehearing must be filed within 14 calendar days after entry of
        judgment, except that in civil cases in which the United States or its officer or agency
        is a party, the petition must be filed within 45 days after entry of judgment. A petition
        for rehearing en banc must be filed within the same time limits and in the same
        document as the petition for rehearing and must be clearly identified in the title. The
        only grounds for an extension of time to file a petition for rehearing are the death or
        serious illness of counsel or a family member (or of a party or family member in pro se
        cases) or an extraordinary circumstance wholly beyond the control of counsel or a
        party proceeding without counsel.

        Each case number to which the petition applies must be listed on the petition and
        included in the docket entry to identify the cases to which the petition applies. A
        timely filed petition for rehearing or petition for rehearing en banc stays the mandate
        and tolls the running of time for filing a petition for writ of certiorari. In consolidated
        criminal appeals, the filing of a petition for rehearing does not stay the mandate as to
        co-defendants not joining in the petition for rehearing. In consolidated civil appeals
        arising from the same civil action, the court's mandate will issue at the same time in all
        appeals.

        A petition for rehearing must contain an introduction stating that, in counsel's
        judgment, one or more of the following situations exist: (1) a material factual or legal
        matter was overlooked; (2) a change in the law occurred after submission of the case
        and was overlooked; (3) the opinion conflicts with a decision of the U.S. Supreme
        Court, this court, or another court of appeals, and the conflict was not addressed; or (4)
        the case involves one or more questions of exceptional importance. A petition for
        rehearing, with or without a petition for rehearing en banc, may not exceed 3900 words
        if prepared by computer and may not exceed 15 pages if handwritten or prepared on a
        typewriter. Copies are not required unless requested by the court. (FRAP 35 & 40,
        Loc. R. 40(c)).

        MANDATE: In original proceedings before this court, there is no mandate. Unless the
        court shortens or extends the time, in all other cases, the mandate issues 7 days after
        the expiration of the time for filing a petition for rehearing. A timely petition for
        rehearing, petition for rehearing en banc, or motion to stay the mandate will stay
        issuance of the mandate. If the petition or motion is denied, the mandate will issue 7
        days later. A motion to stay the mandate will ordinarily be denied, unless the motion
        presents a substantial question or otherwise sets forth good or probable cause for a
        stay. (FRAP 41, Loc. R. 41).
USCA4 Appeal: 20-1094    Doc: 75-1     Filed: 06/15/2021 Pg: 3 of 3         Total Pages:(3 of 5)
               Case 1:19-cv-01559-RDB Document 37 Filed 06/15/21 Page 19 of 20

                   U.S. COURT OF APPEAL FOR THE FOURTH CIRCUIT BILL OF COSTS FORM
                                              (Civil Cases)

         Directions: Under FRAP 39(a), the costs of appeal in a civil action are generally taxed against appellant if a
         judgment is affirmed or the appeal is dismissed. Costs are generally taxed against appellee if a judgment is
         reversed. If a judgment is affirmed in part, reversed in part, modified, or vacated, costs are taxed as the court
         orders. A party who wants costs taxed must, within 14 days after entry of judgment, file an itemized and
         verified bill of costs, as follows:
         • Itemize any fee paid for docketing the appeal. The fee for docketing a case in the court of appeals is $500
         (effective 12/1/2013). The $5 fee for filing a notice of appeal is recoverable as a cost in the district court.
         • Itemize the costs (not to exceed $.15 per page) for copying the necessary number of formal briefs and
         appendices. (Effective 10/1/2015, the court requires 1 copy when filed; 3 more copies when tentatively
         calendared; 0 copies for service unless brief/appendix is sealed.). The court bases the cost award on the page
         count of the electronic brief/appendix. Costs for briefs filed under an informal briefing order are not
         recoverable.
         • Cite the statutory authority for an award of costs if costs are sought for or against the United States. See 28
         U.S.C. § 2412 (limiting costs to civil actions); 28 U.S.C. § 1915(f)(1) (prohibiting award of costs against the
         United States in cases proceeding without prepayment of fees).
         Any objections to the bill of costs must be filed within 14 days of service of the bill of costs. Costs are paid
         directly to the prevailing party or counsel, not to the clerk's office.

        Case Number & Caption: _____________________________________________________

        Prevailing Party Requesting Taxation of Costs: ____________________________________

         Appellate Docketing Fee (prevailing
         appellants):
                                                         Amount Requested: ______                  Amount Allowed: _____
                                                                                          Page
          Document               No. of Pages                  No. of Copies              Cost                Total Cost
                                                                                         (<$.15)
                                      Allowed Requested Allowed
                           Requested (court                                                        Requested           Allowed
                                            use only)   (court use only)                                              (court use only)




         TOTAL BILL OF COSTS:                                                                             $0.00                  $0.00

        1. If copying was done commercially, I have attached itemized bills. If copying was done in-house, I certify that my
        standard billing amount is not less than $.15 per copy or, if less, I have reduced the amount charged to the lesser rate.
        2. If costs are sought for or against the United States, I further certify that 28 U.S.C. § 2412 permits an award of costs.
        3. I declare under penalty of perjury that these costs are true and correct and were necessarily incurred in this action.

        Signature: __________________________________                        Date: _____________________________

                                                          Certificate of Service

        I certify that on this date I served this document as follows:

        Signature: _______________________________                       Date: _________________________________
USCA4 Appeal: 20-1094    Doc: 75-2     Filed: 06/15/2021 Pg: 1 of 2         Total Pages:(4 of 5)
               Case 1:19-cv-01559-RDB Document 37 Filed 06/15/21 Page 20 of 20




                                                                  FILED: June 15, 2021


                                UNITED STATES COURT OF APPEALS
                                    FOR THE FOURTH CIRCUIT

                                          ___________________

                                                No. 20-1094
                                           (1:19-cv-01559-RDB)
                                          ___________________

         BRANDON SODERBERG; BAYNARD WOODS; OPEN JUSTICE
         BALTIMORE; BALTIMORE ACTION LEGAL TEAM; QIANA JOHNSON;
         LIFE AFTER RELEASE

                        Plaintiffs - Appellants

         v.

         HON. AUDREY J. S. CARRION, Administrative Judge for Maryland's Eighth
         Judicial Circuit; HON. SHEILA R. TILLERSON ADAMS, as Administrative
         Judge for Maryland's Seventh Judicial Circuit

                        Defendants - Appellees

         and

         PATRICIA TRIKERIOTIS, as Court Reporter for Baltimore City; ROBIN
         WATSON, as Court Reporter for Prince George's County

                        Defendants

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         CATO INSTITUTE; FLOYD ABRAMS INSTITUTE FOR FREEDOM OF
         EXPRESSION; THE REPORTERS COMMITTEE FOR FREEDOM OF THE
         PRESS AND 23 MEDIA ORGANIZATIONS
